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UNITED STATES DISTRICT COURT a. ro
NORTHERN DISTRICT OF ILLINOIS SEP 20 205

EASTERN DIVISION
MICHAEL W: BOBBINS
Uns, BAG FEGT GOURT
ROBERT LEWIS, )
) Case No.
Plaintiff, ) .
| O0oC 5434
V. ) Judge
) - .
) Magistrate JUOGE KENNELLY
OFFICER EPWARDO HOWARD )
OFFICER FRANK DOMER and ) .MAGISTRAT :
NICHOLAS BOYD ) GERAL DINE SOAT BRC
individually, ) ,
) Jury Demand
Defendants. )
COMPLAINT

NOW COMES the Plainuff, ROBERT LEWIS, by and through her attomeys,
GREGORY E. KULIS AND ASSOCIATES LTD, and complaining against the Defendants,
OFFICER HOWARD, OFFICER DOMER and P.O. NICHOLAS BOYD, individually, as
follows,

COUNT I-FALSE ARREST/ FEBRUARY 5, 2005

1) This action is brought pursuant to the Laws of the United States Constitution,
specifically, 42 1.S.C. §1983 and §1988, and the Jaws of the State of [linois, to redress
deprivations of the Civil Rights of the Plaintiff and accomplished by acts and/or omissions of the
Defendants committed under color of law.

2) Jurisdiction is based on Title 28 U.S.C. §1343 and §1331.

3) The Plaintiff, ROBERT LEWIS, at all relevant times was a United States
citizen and permanent resident of the State of Illinois.

4) The Delendants, OFFICER HOWARD, OFFICER DOMER and NICHOLAS

BOYD, were at all relevani times duly appointed officers of the County of Cook and at all

 
 

 

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relevant times wore acting within their scope of employment and under color of law.

5) On February 5, 2005 the Plaintiff was at his home in Lynwood, Ilinois.

6) The Defendants officers OFF ICER HOWARD, OFFICER DOMER and a
unknown officer came to ihe Plaintiff's house and took hin into custody.

7) The Plaintiff was not committing a crime or breaking any laws.

8) The Defendants thereafter transported the Plaintiff to the Lynwood Police station.

9) There was no probable cause for said arrest, or taking him into custody.

10) The Defendants held the Plaintiff for scveral hours but then released him
without any criminal charges.

11) Said actions of the Defendants, OFFICER HOWARD and OF FICER DOMER
and were intentional, willful and wanton.

12) Said actions of the Defendants, OFICER HOWARD and OFFICER DOMER
violated the Plaintilf’s Fourth and Fourteenth Amendment Rj ghts of the United States
Constitution and were in violation of said rights protected by 42 U.S.C, §1983.

13) Asa direct and proximate consequence of said conduct of Defendants OFFICER
HOWARD and OFFICER DOMER the Plaintiff, ROBERT LEWIS, suffered violations of his
constitutional rights, pain, suffering, emotional anxiety and fear.

WHEREFORE, the Plaintiff, ROBERT LEWIS, prays for judgment against the
Defendants, O! FICER HOWARD and OFFICER DOMER, jointly and severally, in the amount
in excess of FIFTEEN THOUSAND AND 00/1 00 ($15,000.00) DOLLARS compensatory
damages and TEN THOUSAND AND 00/100 ($10,000.00) DOLLARS punitive damages, plus
atiomeys fees and casts,

COUNT Il- FALSE ARREST/ JUNE 17, 2005

1-4) The Plaintiff hereby realleges and incorporates his allegations of paragraphs

 
 

 

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1-4 of Count T as his respective allegations of paragraphs 1-4 of Count II as though fully set
forth herein.

5) On June 17, 2005 the Plaintiff was at his home in Lynwood, Elinois.

6) The Defendant P.O, NICHOLAS BOYD, and numerous others officers came
to Plainuff house, took hin into custody and told him he was under arrest

7) The Plaintiff's ROBERT LEWIS, was handcuffed and transported ta Division IV
of 2700 §. California.

8) ‘There was no probable cause to arrest the Plainulf.

9) The Plaintiff was not committing any crime or breaking any laws.

10) The Plaintiff was held by Defendant BOYD and OFFICER LDWARDO
HOWARD, for approximately nine hours before being released with no charges.

11) Said actions of the Defendant BOYD were intentional wilful and wanton.

12) Said actions of the Defendant, P.O. NICHOLAS BOYD, violated the Plaintiff's
Fourth and Fourteenth Amendment Rights of the United States Constitution and were in
violation of said rights protected by 42 U.S.C, §1983.

13) Asa direct and proximate consequence of said conduct of Defendants P.O.
NICHOLAS BOYD and OFFICER EDWARDO HOWARD, the Plaintiff, ROBERT LEWIS,
suffered violations of his constitutional rights, pain, suffering, emotional anxicty and fear.

WHEREFORE, the Plaintiff, ROBERT LEWIS, prays for judgment against the
Defendants, OFFICER EDWARDO ITOWARD, and P. O. NICHOLAS BOYD, jointly and
severally, in the amount in excess of FIFTEEN THOUSAND AND 00/100 ($15,000.00)
DOLLARS compensatory damages and TEN THOUSANTD AND 00/100 ($10,000.00)

DOLLARS punitive damages, plus attorneys fees and costs.
 

 

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JURY DEMAND

The Plaintiff, ROBERT LEWIS, requests a tial by jury.

Respectfully submitted,
ROBERT LEWIS,

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